(`QQQ 9'

33 r“_"§ B'§R‘b°'ii-*§Pi"l”§“" EFHEH'}H\"@THf'?:f°“l!l`|'§`di°®`?l?

` EJ‘SF'"Pacie 1 of 2 Pacie|D 32

 

l. CIR.¢'|)]S'I`.)'D|\’. CODE

2. i-F.RSON REPRESF.NTED
TNW

Beai'd, Zadi'ick

 

\"()UCHER NUMBER
_/

 

 

3. Mi\(}. l`ti\"l`.fDEF. NUMBER 4. DIST. DKT.IDEF. NUMBER

2:05-020252-003 -D

5. Ai'PEALS i)K'r./i)Ei'. Nusiaau i.. oi'iii:ii iii<'r. Ni).\iaaR-' j " )

mm BY _______..J.....,D.B.

 

((`att‘ Niime)

i. m CASi;/ii,tr'i'i;n or ii. i=.wMENT cATEGoRY
U.S. v. Bcard Felony

 

9. TYPE reason Ri:i=ar.si:man
Adult Der"endant

tSee in_structiimsl

Qia“n

 

 

io. gap RESENTi\TiQN 'ri”’PF,

 

ll. OFFENSE(S) CH ARGED (C`\te U.S. Code, Title & Set:tiun)

\J \J
ll`ninre than one offense. list top to l'i\'e) major anu'tses ehargetl, according tn se\'eri`t'_\.' of offense

l) 18 1343.F -- FRAUD BY WIRE,, RADIO, OR TELEV[SION

\»_,-t»

T‘.~Zl'it-H,

‘*. irs zi\_D
-~h. hud

 

11- ::_EB(?`|:__?'|!§“YS_SC_NA\B'_!)EI§E(SF§FS! Nam¢. M.l.. l.ast Nalne. including lnysul!i);]

Weinman, chard
275 JEFFERSON AVE
MEMPHIS TN 38103

Ti-lepllone Numhcr:

 

l-l. N.~\ME i\ND MA]LING ADDRESS OF LAW FIRM (onl)‘ provide |ierinstrui:tions)

13. COURT cuban '}\ 'U__S D§"jliil(\:l COUH

§ 0 Ap|iclinting Cutlnse| m C Cu-C f ..\ I~ t
\:l F Subs l-`or Federal Defender l] R Subs For thtnhlh lt[|ivlpHiS
ij P Suhs |~`or Pal\el Altor\tey l] \i' Standh_v Co

Frinr Atiorne)"s Nlme:

 

Appolntment Date:

w lieeause the shove-named person represented has testified uad er oath or has
t rn'ise satisfied this court that he or she (1) is linanciai|y unable tn employ counsel and

(1} does nut wish to waive eunnsel. and because the interests ufjus|ice so require, the

     

Signature of l’residing Judlcial ()ti`lcer or By Or er ofthe ourt

O'z'i"l Q/’)'t'lt`|§
Dxte ol'Order Nune Pro'l`nne Dale
Repsymeot or partial repayment ordered from tlle person represented l'ur this s er\'iee al

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lime ol' eppotnlment. [:l YES
CLAl;itgiE `, jon simmons 'AND amsi:s ` ;_ ; ; ` " ` ` ' '\ = <5 -j _F_($iicoURT`Usii om.Y-*
'I`O"I`AL MA'I`HFI`ECH MA'I`H"TECH
cATEGoRiEs (Anaiii itemization owning witt times “°“RS AMouNT Ai)ws"ri;o Ai).ius"ri:i) A”DI“ONAL
) CL*“MED cLAiMiii) timms mouriT REWEW
15. a. Arraignment and/or Plea
h. Bail and Delention Hearings
e. Motion Hearings
I .
n d. Trlal
C c. Sentem:ing Hearings
3 f. Re\'ocation Hearlngs
tr g. Appea|s Court
h. Other (Specify on additional sheets)
(Rate per huur = 5 ) TOTALS:
16. ii. interviews and Conferences
? h. Obtoining and reviewing records
0 c. Legai rose arch and brief writing
2 d. Travel time
3 e. Investigative and Other work ispe¢ir_v im additional ih¢¢is)
r
‘ iam per hour- s ) ToTALS:
l'r. Travel Expenses (|odging. parking. meals, mileage, etc.}
18. Other Expenses (niher than expert, transcriptsl etc.)
.- §,_i _' \ § _ __ it ::Xn:_:~…,"_,
' RVICE 20. APFO|NTMENT TERMINATlON DATE Zl. CASE DiSPO SlTlON
l‘J. CE.RT!FICATION OF ATTORNEY.'PAYEE FOR THE PERlOD 0 F SE "__ OTHER T__AN CASE cOMP___E____ON
FROM TO
22. CLA]M STATUS ij Final Payment l:i lriterim Plyrnent Numher __,_,_,_ [:i Supplemeutal Paymen|
Have von previously applied to the court far compensation miller remimhursement for this case‘.’ [:i YES lf_\'u,were you paid'.' _ l:l Y_ES _ l:_l N()
Other'tltan from the cu\m, have you,ur toyour knowledge has anyone else. received payment [corripensalion or anything ur value) from lny other source in connection with this
representaliun'.’ m YES D NO l|'yes\give details on additional sheets.
1 swear or affirm the truth ur correctness ofthe above statementsl
Si-gnattire of Mturne_\‘: hate:
_ ` __ _ _ __ __i 1 'Areaovan Foa P.sYinJiNT'-;co_vn'_r tisi:`oio.i`i ;; _ `§
23. ll\` COURT COMP. 24. (]UT OF COURT COMP. 25. TRAVEL EXPENSES 16. (JTHER EXPE.NSES 21 TOTAL AMT. APPR .' CERT
IB. StCNATURI:`. ()F THE PRES|D|NG JUD|CIAL OFFlCER DATE litn. .]L'DGE f MAG. JUDGH CODE
29, l.\' COURT CO.VIP. 3U. OUT OF COL'RT CCIMP. fll. TRJ»'\\"EL EKPE]\'SES 32. O'l'llER EXPENSES ]3. TOTAL AMT. APPROVED
J~i. SIGNATU RE OF C[llEF J'UDGE, COL;RT OF .-\I‘P EALS (OR DELF.(}ATI".) t*a_\ mont DATE 343. .!L`DGF. CODE /'
approved in excess ofthe statutory threshold aruouni.
Thl$ document entered on **"¢i docket ah t llance

with nqu 65 and/or 32 iii

 

UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy ot` thc document docketed as number 31 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
July 28, 2005 to thc parties listcd.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 chfcrson Ave.

Ste. 200

1\/lcmphis7 TN 38103

Mary Cathcrinc Jcrmann
FEDERAL PUBLIC DEFENDER
200 chfcrson Ave.

Ste. 200

1\/lcmphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

1\/lcmphis7 TN 38103

Camillc Rccsc McMullcn
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lcmphis7 TN 38103

Honorablc Bcrnicc Donald
US DISTRICT COURT

